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      ORDERED in the Southern District of Florida on August 18, 2017.




                                                   Laurel M. Isicoff
                                                   Chief United States Bankruptcy Judge




_____________________________________________________________________________


                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

      In re:                                                     Case No. 16-17228-LMI
               CARLOS DELGADO,                                   Chapter 7

            Debtor.
      __________________________________/

      MARCIA T. DUNN, Chapter7 Trustee,                          Adv. No. 17-01157-LMI

               Plaintiff,
      v.

      CARLOS DELGADO,

            Defendant.
      __________________________________/

                                           FINAL JUDGMENT

               In conformity with this Court’s Order Granting Plaintiff, Chapter 7 Trustee Marcia T.

      Dunn’s (“Plaintiff”) Motion for Entry of Default Final Judgment against Defendant, CARLOS

      DELGADO (hereinafter, the “Defendant”), entered simultaneously herewith, and finding that the
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Court has jurisdiction over the parties and the subject matter, and pursuant to Fed.R.Bankr.P. 7058,

the Court does hereby

       ORDER and ADJUDGE that:

       1.        Final Judgment is herein entered in favor of the Plaintiff, MARCIA T. DUNN, as

Chapter 7 Trustee of the bankruptcy estate of Carlos Delgado, (whose address is: 555 N.E. 15th

Street, Suite 934-A, Miami, Florida 33132), as to Counts I, II, III and IV of Plaintiff’s Complaint,

and against the following Defendant:

                 a) CARLOS DELGADO (last known mailing address is: PO Box 133830,
                    Hialeah, Florida 33013; and last known physical address is: 50 E. 61 Street,
                    Hialeah, Florida 33013).

       2.        Debtor, CARLOS DELGADO’s discharge in the main bankruptcy case No. 16-

17228-LMI, is hereby DENIED.

       3.        The Court retains jurisdiction to modify, supplement, amend, enforce and

implement the terms and provisions of this Final Judgment, and enter further orders and decrees

as are proper.

                                         #        #        #

Submitted by:

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